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                   EXHIBIT 1
       Case 4:21-cv-02727-HSG Document 1-1 Filed 04/15/21 Page 2 of 17

                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    03/18/2021
                                                                                                    CT Log Number 539234950
TO:         Debbie Hall, Legal Assistant
            Umpqua Bank
            13535 SW 72nd Ave Ste 110
            Tigard, OR 97223-8135

RE:         Process Served in California

FOR:        Umpqua Investments, Inc. (Domestic State: OR)
            According to our records representation services for this entity have been discontinued in this jurisdiction.




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  CLEMENT RICHARDSON, ETC., PLTF. vs. UMPQUA INVESTMENTS INC., ETC., ET AL.,
                                                  DFTS.
DOCUMENT(S) SERVED:                               -
COURT/AGENCY:                                     None Specified
                                                  Case # C2100130
NATURE OF ACTION:                                 Employee Litigation - Wrongful Termination
ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Los Angeles, CA
DATE AND HOUR OF SERVICE:                         By Process Server on 03/18/2021 at 14:43
JURISDICTION SERVED :                             California
APPEARANCE OR ANSWER DUE:                         None Specified
ATTORNEY(S) / SENDER(S):                          None Specified
ACTION ITEMS:                                     SOP Papers with Transmittal, via UPS Next Day Air , 1ZX212780125104568

                                                  Image SOP

                                                  Email Notification, Susan Rich susanrich@umpquabank.com

                                                  Email Notification, Debbie Hall debbiehall@umpquabank.com

                                                  Email Notification, Andrew Ognall andrewognall@umpquabank.com

                                                  Email Notification, Andy Hannon Andyhannon@umpquabank.com

REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                  818 West 7th Street
                                                  Los Angeles, CA 90017
                                                  866-539-8692
                                                  CorporationTeam@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




                                                                                                    Page 1 of 1 / SS
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                                                                     Wolters-Klifv‘ief

                             PROCESS SERVER DELIVERY DETAILS




Date:                          Thu, Mar 18, 2021

Server Name:                   Victor Mendez




Entity Served                   UMPQUA INVESTMENTS, INC.

Agent Name                     C T CORPORATION SYSTEM

Case Number                    C2100130

J urisdiction                  CA
                Case 4:21-cv-02727-HSG Document 1-1 Filed 04/15/21 Page 4 of 17



                                                                                                                                                                  SUM-100
                                           SUMMONS                                                                            FOR COURT USE ONLY
                                                                                                                          (SOLO PARA USO DE LA coem
                      (CITACION JUDICIAL)
 NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):
 U MPQUA INVESTMENTS. INC.. an Oregon corporation: and DOES I                                                                        11                        g !,1;
 throtei O. inclusive:
 YOU ARE BEING SUED BY PLAINTIFF:
                                                                                                                                    JAN 2 1 2021
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(LO ESTA DEMANDANDO EL DEMANDANTE):                                                                                                                         kr. •
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                                                                                                                                    COUNTY OS- CU•sv..n
                                                                                                                                                                 );:1;4'.

  CLEMF.NT RICHARDSON, an individual:


   NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
  Online Self-Help Center (www.courtinfo.ca.govisellhelp). your county law library, or the courthouse nearest you. If you cannot pay :he filing fee, ask
  the court clerk for a tee waiver form. If you do not file your response on time, you may lose the case by default, and your wages. money, and property
   may be taken willot • f;rther warring from the court.
      There are other legal ••equirements. Yoa may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You car. locate
  these nonprofit groups at the California Legal Services Web site (www.lawhelecalifornia.org). the California Courts Online Self-Help Center
  twww.courtinfo.ca.gov/sefihelp). or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
  tAVISOT Lo hen Oemandado. Si no responde denIra de 30 dies. la code puede decidir on sit contra sin escuchar su version. Lea la informacien a
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     Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citacion y papeles legates pate presentar tine respziesta pot esc:ito en esta
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  en formate legal conecto si desea que proc.esen sii case en la carte. Es posible que haya tin forrnulario que listed puede user pare su respuesta.
 Puede encontrar estos formularies de la code y mths informacion en el Centro de Ayuda de las Cortes de California (vvww.sucorte.ca.gov). en la
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 (ivvirw.lawhelpcalifomia.org). en el Centro de Ayuda de /as Cortes de California. (www.sucorte.ca.gov)0 poniendose en confacto con la corte o ef
 colegio de abogados locales. AVISO: Parley. la code tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
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 The name and address of the court is:                                                                   CASE NJMBFR•
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(El nombre y direcciOn de la Code es):
 CONTRA COSTA COUNTY SUPERIOR COURT                                                                                      C             1.1 °             13
 725 Court Street Martinez, CA 94553
 The name, address. and telephone number of plaintiffs attorney, or plaintiff without an attorney. is:
(El nombre. la cfireccian ye!nOmero de teldfono del abogado del demander/c. o del demandante que no here abogado, es):
  Joseph M. Lovretovich, Erie M. Gruzen: Shahla Jalil-Valles - 5855 Topant:ta Canyon Boulevard. Suite 300
                                                                                         Woodland Hills, CA 91367 (818)610-8800
 DATE:                                                                          Clerk. by                                                                         . Deputy
(Fecha)                                 - )/1) )/1
                                        '                                      (Secrelario)                                                                        (Adjunto)
(For proof of se ice of this summons. use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de este citation use el(ormulario Proof of Service of Summons.(POS-010)).
                                                                                                                            A. JACALA
                                 N OTICE TO THE PERSON SERVED: You are served
                                 1.       as an individual defendant.
                                 2. (
                                    -  1 as the perscn sued under the fictitious name of (specify):



                                      3,         on behalf of (specify):
                                                                        tAkketklAk             1.1 EST/Amps                  Ai C.-.) ttS OREGON Co                                 otA1i0Ai

                                           u nder:   XI I   CCP 416.10(corporation)                       -
                                                                                                          I 1 CCP 416.60 (minor)
                                                     -1 CCP 416.20 (defunct corporation)                  Ei           CCP 416.70 (conservatee)
                                                     ni CCP 416.40 (association or partnership)                        CCP 416.90 (authorized person)

                                                            other (specify).
                                     4.          by perscnal delivery en (date):
                                                                                                                                                                      Page I of I
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                                                                       SUMMONS                                                               fir r:                   •;•Z
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 4   JOSEPH M. LOVRETOVICH. STATE   I3AR NO. 73403
     ERIC M. GRI;ZEN. STATE BAR NO. 22244S
     SHAHLA !AUL-VALLES. STATE BAR NO. 3       27

 6   Attorneys for Pluintiff
     CLEMENT RICHARDSON                                                               PER LOCAL RULE, THIS
                                                                                      CASE       1GNED TO
                                                                                      O PT_L FOR ALL
 8                                                                                         PUR OSES
 9                             SUPERIOR COL R1 FOR THE STATE OF CALIFORNI
10
      FOR THE COUNTY OF CONTRA COSTA - WAKEFIELD TAYLOR COURTHOUSE
Ii
     CLEMENT RICHARDSON. an                                      Case No.:
                                                                                          -00130 -
12
     individual:
                                                                               C21
13                                                               COMPLAINT FOR:
                                         Plaintiff.
14                                                                  I. RACE DISCRIMINATION IN VIOLATION OF
             vs.                                                       FEHA;
15                                                                  2. FAILURE To PREVENT DISCRIMINATION
                                                                       IN VIOLATION OF FEHA:
16                                                                  3. CONSTRUCTIVE WRONGFUL
     UMPQUA INVESTMENTS. INC.. an                                      TERMINATION IN VIOLATION OF PUBLIC
17   Oregon corporation; and DOES 1                                    POLICY
     through 50. inclusive:
18
                                         Defendants.
19
20
21          Plaintiff, CLEMENT RICHARDSON. hereby brings his complaint against the above-
     named Defendants and states and alleues as follows:
23                                                     PRELIMINARY ALLEGATIONS
/4         I.        At all times material herein. Plaintiff. CLEMENT RICHARDSON thereinafter
25   referred to as "Plaintiff") was and is a resident of the State olCalifonna. County ofNapa.
26        2.        Plaintiff is informed. believes, and based thereon alleges that Defendant UMPQUA
27   INVESTMENTS. INC.(hereinafter referred to as -UMPQUA" or -Defendant") is an Oregon
28   corporation and was at all times mentioned in this complaint duly licensed to do business. was

                                                               CON1PLAINT
                          Case 4:21-cv-02727-HSG Document 1-1 Filed 04/15/21 Page 6 of 17




                      1    and is doing business, under and by virtue ofthe laws ofthe State of California, in the County of
                      2    Contra Costa.
                      3          3.    DOES 1 through 50, and each ofthem, were and are the shareholders, and/or
                      4    directors, and/or officers, and/or agents, and/or alter egos of Employer Defendants, and in doing
                      5    the things herein described, were acting within the scope oftheir authority as such shareholders,
                     6     and/or directors, and/or officers, and/or agents, and/or alter egos of Employer Defendants.
                      7          4.    The true names and capacities, whether individual, corporate, associate or otherwise
                      8    ofDOES 1 through 50 are unknown to Plaintiff who therefore sues these Defendants under said
                      9    fictitious names. Plaintiff is informed and believes that each ofthe Defendants named as a DOE
                     10    Defendant is legally responsible in some manner for the events referred to in this complaint,
                     11    either negligently, willfully, wantonly, recklessly, tortiously, strictly liable, statutorily liable or
           0
           to)       12    otherwise, for the injuries and damages described below to this Plaintiff. Plaintiff will in the
                 N
gog.I                13    future seek leave of this court to show the true names and capacities ofthese DOE Defendants
            c<
         3 ca        14    when it has been ascertained.
           ,
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         1 c`!
                     15          5.    Plaintiff is informed and believes, and based thereon alleges, that each of the
            to °
1••••6               16    fictitiously named Defendants is responsible in some manner for, and proximately caused, the

           Ln        17    harm and damages alleged herein below.
           co

                     18          6.   Plaintiff is informed and believes, and based thereon alleges, that each of the
                     19    Defendants named herein acted as the employee, agent, spouse, partner, alter-ego and/orjoint
                     20    venturer of each ofthe other Defendants named herein and, in doing the acts and in carrying out
                     21    the wrongful conduct alleged herein, each ofsaid Defendants acted within the scope ofsaid
                     22    relationship and with the permission, consent and ratification of each ofthe other Defendants
                     23    named herein.
                     24          7.   Plaintiff is informed and believes, and based thereon alleges, that each ofthe
                     25    Defendants named herein acted as the employee, agent, partner,joint-employer, alter-ego,joint
                     26    venture, affiliate, and/or co-conspirator with or ofeach of the other Defendants named herein
                     27    and, in doing the acts and in carrying out the wrongful conduct alleged herein, each of said
                     28
                                                                             2
                                                                         COMPLAINT
     Case 4:21-cv-02727-HSG Document 1-1 Filed 04/15/21 Page 7 of 17




 1    Defendants acted within the scope ofsaid relationship and with the permission, consent and
 2    ratification ofeach ofthe other Defendants named herein.
 3          8.     Finally, Employer Defendants are liable for the acts oftheir employees under the
 4    doctrine ofRespondeat Superior and via conspiracy liability. Each of the acts described above
 5    and further described below under each Cause of Action was perpetrated during the course and
 6    scope of employment of the actors, was carried out with knowledge of Defendants, was
 7    condoned and ratified, and/or was taken pursuant to an implied agreement by Defendants to
 8    deliberately take said actions.
 9          9.     Hereinafter in the Complaint, unless otherwise specified, reference to a Defendant or
10    Defendants shall refer to all Defendants, and each ofthem.
11          10. The jurisdiction ofthis Court is proper for the relief sought herein, and the amount
12    demanded by Plaintiff exceeds $25,000.
13                                      FACTUAL ALLEGATIONS
14          11. Plaintiff, an African American male, began employment with Defendant in or about
15    2006 as a Financial Advisor. As a Financial Advisor, Plaintiff provided financial advice to
16    Defendant's clients. Throughout Plaintiff's employment with Defendant, he became a valued and
17    integral member of Defendant's organization.
18          12. In or about 2016, Plaintiff began to fall victim ofracial discrimination by his
19    supervisors. Specifically, there was an opportunity for Plaintiffto take over a book of business
20 from a retiring advisor, Kevin Wilson ("Wilson"). Plaintiff learned ofthe opportunity, and made
21    it known to Defendant's Executive, Steve May("May")that he was interested in taking over this
22    book of business by writing him a letter. During this time, an Executive of Defendant, Genie
23    Winterborn ("Winterborn"), objected to Plaintiffs interest in taking over this book of business.
24 Plaintiff believes that Winterborn objected to Plaintiff taking over this book of business due to
25    his race. Winterborn is a Caucasian woman.
26          13. Plaintiff was never given the book of business, instead, Plaintiff was forced to pay a
27    sum amount in order to take over the book of business. This was not a common occurrence for
28    Defendant.
                                                      3
                                                  COMPLAINT
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 1          14. From 2014 to 2016, Plaintiff shared an office with Jeff Crouch ("Crouch")and Evan
 2    Hershey ("Hershey"). In or about 2016,Crouch and Hershey both resigned from Defendant.
 3    Crouch, Hershey, and Plaintiff were the only advisors that covered the State of California.
 4    Plaintiff is informed and believes, and based thereon alleges, that Defendant's policy states that
 5    when any advisor leaves the firm,all accounts are reassigned to the person in the same office,
6     which in this case would have been Plaintiff. Instead, Winterbom reassigned all of Crouch's and
 7    Hershey's accounts to associates in other states. Plaintiff believes Winterbom discriminated
 8    against Plaintiff due to his race.
9           15. In or about 2016, Plaintiff stopped receiving referrals by Winterbom completely. This
10    continued throughout the remainder of Plaintiff's employment with Defendant.
11          16. In or about 2019,Plaintiff became aware that two other Caucasian Advisors for
12    Defendant were stealing his clients. Plaintiff complained about this to multiple Executives for
13    Defendant, including Winterbom. Despite Plaintiff's complaints, nothing was done to address
14    the issue.
15          17. On or about February 3, 2020,Plaintiff had a meeting with Defendant's Executive
16    Kent Grubaugh("Grubaugh"), a Caucasian male, and one ofPlaintiffs own clients. During the
17    meeting, Grubaugh told Plaintiff's client that "There are two other Advisors who work with us,
18    who are better than Clement [Plaintiff]." The other two advisors that Grubaugh referred to are
19    Caucasian. Plaintiff is informed and believes, and based thereon alleges, that Grubaugh made
20    this comment due to Plaintiff's race.
21          18. Throughout Plaintiff's entire employment with Defendant,Plaintiff was a victim of
22    discrimination by Defendant. As a result ofthe wrongful treatment that Plaintiff had been
23    subjected to during his employment with Defendant and the continuing failure to prevent the
24    discrimination, Plaintiff was forced to resign from his position at Defendant in or about August
25    2020 as he was no longer able to physical and emotionally tolerate the intolerable working
26    conditions.
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28
                                                     4
                                                 COMPLAINT
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 1          19. Plaintiff further exhausted his administrative remedies by filing a complaint with the
 2    Department of Fair Housing and Employment("DFEH"). The DFEH issued Plaintiff an
 3    immediate right-to-sue letter on January 13, 2021.
4                                      FIRST CAUSE OF ACTION
 5                                      RACE DISCRIMINATION
6                          IN VIOLATION OF GOVT.CODE §§ 12940 ETSEQ.
 7                        [FAIR EMPLOYMENT AND HOUSING ACT(FEHA)]
8                            (Against Defendants, and DOES 1 through 50)
9           20. Plaintiff restates and incorporates by this reference all preceding paragraphs as if fully
10    set forth herein.
11          21. At all times herein mentioned, California Government Code § 12940 et seq., the Fair
12    Employment and Housing Act("FEHA"), were in full force and effect and were binding on
13    Defendant and each ofthem, as Defendant regularly employed five(5)or more persons.
14          22. California Government Code § 12940(a)requires Defendants to refrain from
15    discriminating against any employee on the basis ofrace.
16          23. Defendants subjected Plaintiff to different terms and conditions ofemployment based
17    on Plaintiff's known and/or perceived race, in violation of the FEHA.The acts created an
18    intimidating, oppressive, hostile, offensive and abusive work environment, which altered and
19    impaired Plaintiff's employment and emotional well-being.
20          24. Plaintiff is an African American male.
21          25. At all relevant times, Defendants perceived Plaintiffto be African American.
22    Continuing throughout Plaintiff's employment with Employer Defendants, agents ofDefendant
23    subjected Plaintiff to adverse employment actions on the basis of his known/perceived race.
24          26. Defendants' harassing conduct was severe and/or pervasive enough to create a work
25    environment that a reasonable person would consider intimidating, hostile, or abusive. Employer
26    Defendants' harassing conduct interfered with Plaintiff's work performance and seriously
27    affected his psychological well-being. Plaintiff was deeply upset by this harassing conduct and
28    considered his work environment to be intimidating, hostile and abusive.

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                  1           27. Employer Defendants failed to conduct a reasonable and good faith investigation, and
                  2 failed to take reasonable action to prevent further discrimination from occurring. As a result, the
                  3     discrimination of Plaintiff continued.
                 4            28. As a proximate result ofthe aforesaid acts ofDefendants, and each ofthem, Plaintiff
                  5     has suffered actual, consequential and incidental financial losses, including without limitation,
                 6      loss ofsalary and benefits, and the intangible loss of employment related opportunities in his
                  7     field and damage to his professional reputation, all in an amount subject to proof at the time of
                 8      trial. Plaintiff claims such amounts as damages pursuant to Civil Code § 3287 and/or § 3288
                 9      and/or any other provision oflaw providing for prejudgment interest.
                 10           29. As a proximate result ofthe wrongful acts ofDefendants, and each ofthem, Plaintiff
                 11     has suffered and continues to suffer emotional distress, humiliation, mental anguish and
                 12     embarrassment, as well as the manifestation of physical symptoms. Plaintiff is informed and
    s            13     believes and thereupon alleges that he will continue to experience said physical and emotional
        132:
        x,       14     suffering for a period in the future not presently ascertainable, all in an amount subject to proof
   3
04 I c.)51=      15     at the time oftrial.
    e
        5°765,
        :0       16           30. As a proximate result ofthe wrongful acts ofDefendants, and each ofthem, Plaintiff
                 17     has been forced to hire attorneys to prosecute his claims herein, and has incurred and is expected
                 18     to continue to incur attorneys' fees and costs in connection therewith. Plaintiff is entitled to
                 19     recover attorneys' fees and costs under California Government Code § 12965(b).
                 20           31. Employer Defendants had in place policies and procedures that specifically prohibited
                 21     discrimination and harassment based on race and required Employer Defendants' managers,
                 22    officers, and agents to prevent race discrimination against and upon employees of Employer
                 23    Defendants. However,Defendants chose to consciously and willfully ignore said policies and
                 24    procedures and therefore, their outrageous conduct was fraudulent, malicious, oppressive, and
                 25     was done in wanton disregard for the rights of Plaintiff and the rights and duties owed by each
                 26    Defendant to Plaintiff. Defendants also had a pattern and practice of discriminating against
                 27    employees on the basis oftheir race. Each Defendant aided, abetted, participated in, authorized,
                 28    ratified, and/or conspired to engage in the wrongful conduct alleged above. Plaintiff should,
                                                                        6
                                                                    COMPLAINT
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 1    therefore, be awarded exemplary and punitive damages against each Defendant in an amount to
 2    be established that is appropriate to punish each Defendant and deter others from engaging in
 3    such conduct in the future.
4                                     SECOND CAUSE OF ACTION
 5                            FAILURE TO PREVENT DISCRIMINATION
6                     IN VIOLATION OF GOVT.CODE §§ 12940,ETSEQ.(FERA)
 7                           (Against Defendants, and DOES 1 through 50)
 8          32. Plaintiff hereby repeats and incorporates all preceding paragraphs as though fully set
9     forth herein.
10          33. At all times mentioned herein, California Government Code Sections 12940, et seq.,
11    including but not limited to Sections 12940(j) and (k), were in full force and effect and were
12    binding upon Defendants and each ofthem. These sections impose on an employer a duty to
13    take immediate and appropriate corrective action to end discrimination and take all reasonable
14    steps necessary to prevent discrimination from occurring, among other things.
15          34. Defendants violated Government Code § 12940(j) and(k)by failing to adequately
16    supervise, control, discipline, and/or otherwise penalize the conduct, acts, and failures to act as
17    described herein.
18          35. Defendants failed to fulfill their statutory duty to timely take immediate and
19    appropriate corrective action to end the discrimination and also failed to take all reasonable steps
20    necessary to prevent the discrimination from occurring.
21          36. In failing and/or refusing to take immediate and appropriate corrective action to end
22    the discrimination, and in failing and/or refusing to take and or all reasonable steps necessary to
23    discrimination from occurring, Defendants violated Government Code § 12940(j) and (k),
24    causing Plaintiff to suffer damages as set forth above.
25          37. As a proximate result ofthe aforesaid acts ofDefendants, and each ofthem, Plaintiff
26    has suffered actual, consequential and incidental financial losses, including without limitation,
27    loss ofsalary and benefits, and the intangible loss ofemployment related opportunities in his
28    field and damage to his professional reputation, all in an amount subject to proof at the time of
                                                      7
                                                  COMPLAINT
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 1    trial. Plaintiff claims such amounts as damages pursuant to Civil Code § 3287 and/or § 3288
 2    and/or any other provision oflaw providing for prejudgment interest.
 3          38. As a proximate result ofthe wrongful acts ofDefendants, and each ofthem, Plaintiff
 4    has suffered and continues to suffer emotional distress, humiliation, mental anguish and
 5    embarrassment, as well as the manifestation of physical symptoms. Plaintiffis informed and
 6    believes and thereupon alleges that he will continue to experience said physical and emotional
 7    suffering for a period in the future not presently ascertainable, all in an amount subject to proof
 8    at the time of trial.
 9          39. As a proximate result ofthe wrongful acts of Defendants, and each ofthem, Plaintiff
10    has been forced to hire attorneys to prosecute his claims herein, and has incurred and is expected
11    to continue to incur attorneys' fees and costs in connection therewith. Plaintiff is entitled to
12    recover attorneys' fees and costs under Government Code § 12965(b).
13          40. Defendants had in place policies and procedures that specifically prohibited and
14    required Defendants' managers, officers, and agents to prevent discrimination based on race
15    against and upon employees ofDefendants. Managers, officers, and/or agents ofDefendants
16    were aware ofDefendants' policies and procedures requiring Defendants' managers, officers,
17    and agents to prevent, and investigate, race discrimination against and upon employees of
18    Defendants. However,Defendants chose to consciously and willfully ignore said policies and
19    procedures and therefore, Defendants' outrageous conduct was fraudulent, malicious, oppressive,
20    and was done in wanton disregard for the rights of Plaintiff and the rights and duties owed by
21    each Defendant to Plaintiff. Each Defendant aided, abetted, participated in, authorized, ratified,
22    and/or conspired to engage in the wrongful conduct alleged above. Plaintiff should, therefore, be
23    awarded exemplary and punitive damages against each Defendant in an amount to be established
24    that is appropriate to punish each Defendant and deter others from engaging in such conduct.
25    I-
26    II
27 /-
28    1/
                                                        8
                                                  COMPLAINT
     Case 4:21-cv-02727-HSG Document 1-1 Filed 04/15/21 Page 13 of 17




 1                                     THIRD CAUSE OF ACTION
 2                       • CONSTRUCTIVE WRONGFUL TERMINATION IN
 3                                  VIOLATION OF PUBLIC POLICY
 4                            (Against Defendant and DOES 1 through 50)
 5            41.    Plaintiff incorporates by reference all preceding paragraphs as iffully set forth at
 6     this place.
 7            42. "[W]hen an employer's discharge of an employee violates fundamental principles of
 8     public policy, the discharged employee may maintain a tort action and recover damages
 9     traditionally available in such actions." Tameny v. Atlantic Richfield Co.(1980)27 Ca1.3d 167,
10     170 "Mlle cases in which violations of public policy are found generally fall into four
11    categories:(1)refusing to violate a statute;(2)performing a statutory obligation(3)exercising a
12    statutory right or privilege; and(4)reporting an alleged violation of a statute of public
13     importance." Gantt v. Sentry Insurance(1992) 1 Ca1.4th 1083, 1090-1091. Similarly,"an
14     employer's authority over its employee does not include the right to demand that the employee
15     commit a criminal act to further its interests, and an employer may not coerce compliance with
16    such unlawful directions by discharging an employee who refuses to follow such an order..."
17     Tameny, supra, 27 Ca1.3d at p. 178.
18            43. Accordingly, the actions ofDefendants, and each ofthem, in wrongfully
19    constructively terminating Plaintiffon the grounds alleged and described herein were wrongful
20    and in contravention ofthe express public policy ofthe State of California.
21            44. Throughout Plaintiffs entire employment with Defendant,Plaintiff was a victim of
22    discrimination by Defendant. As a result ofthe wrongful treatment that Plaintiff had been
23    subjected to during his employment with Defendant and the continuing failure to prevent the
24    discrimination, Plaintiffresigned from his position at Defendant on or about August 2020 as he
25    was no longer able to physical and emotionally tolerate the intolerable working conditions.
26            45. As a proximate result of the aforesaid acts ofDefendants, and each ofthem,
27 Plaintiff has suffered actual, consequential and incidental fmancial losses, including without
28    limitation, loss ofsalary and benefits, and the intangible loss ofemployment related
                                                      9
                                                  COMPLAINT
     Case 4:21-cv-02727-HSG Document 1-1 Filed 04/15/21 Page 14 of 17




 1    opportunities in his field and damage to his professional reputation, all in an amount subject to
 2    proof at the time oftrial. Plaintiff claims such amounts as damages pursuant to Civil Code §
 3    3287 and/or § 3288 and/or any other provision oflaw providing for prejudgment interest.
 4           46. As a proximate result of the wrongful acts of Defendants, and each ofthem,
 5    Plaintiff has suffered and continues to suffer emotional distress, humiliation, mental anguish and
6     embarrassment, as well as the manifestation of physical symptoms. Plaintiff is informed and
 7    believes and thereupon alleges that he will continue to experience said physical and emotional
 8    suffering for a period in the future not presently ascertainable, all in an amount subject to proof
9     at the time oftrial.
10            WHEREFORE,Plaintiff prays for judgment as follows:
11              1.   For general damages, according to proof;
12             2.    For special damages, according to proof;
13             3.    For loss of earnings, according to proof;
14             4.    For declaratory relief, according to proof;
15             5.    For injunctive relief, according to proof;
16             6.    For attorneys' fees, according to proof;
17             7.    For prejudgment interest, according to proof;
18             8.    For punitive and exemplary damages, according to proof;
19             9.    For costs ofsuit incurred herein;
20              10. For such other relief that the Court may deem just and proper.
21    //
22 //
23    //
24    //
25    //
26    //
27    //
28    //
                                                       10
                                                  COMPLAINT
     Case 4:21-cv-02727-HSG Document 1-1 Filed 04/15/21 Page 15 of 17




 1                                   DEMAND FOR JURY TRIAL

 2          Plaintiff hereby demands ajury trial for all causes of action set forth herein.

 3
 4    DATED:     January 26, 2021               JML LAW,A Professional Law Corporation
 5

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                                                                        lahl-1/a1144.

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 8
                                                By:
                                                        JOSEPH M.
                                                        ERIC M.GRUZEN
                                                                     i   VRETOVICH


10                                                      SHAHLA JALIL-VALLES

11                                                      Attorneys for Plaintiff
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                                                COMPLAINT
     Case 4:21-cv-02727-HSG Document 1-1 Filed 04/15/21 Page 16 of 17


                             SUPERIOR COURT - MARTI.
                             COUNTY OF CONTRA COSTA
                             MARTINEZ, CA, 94553

CLEMENT RICHARDSON      VS UMPQUA INVESTMENTS INC

NOTICE OF CASE MANAGEMENT CONFERENCE                       CIVMSC21-00130

1.   NOTICE: THE CASE MANAGEMENT CONFERENCE HAS BEEN SCHEDULED FOR:

DATE:     06/22/21        DEPT:   07       TIME:    8:30

THIS FORM, A COPY OF THE NOTICE TO DEFENDANTS, THE ADR INFORMATION
SHEET, A BLANK CASE MANAGEMENT CONFERENCE QUESTIONNAIRE, AND A BLANK
STIPULATION FORM ARE TO BE SERVED ON OPPOSING PARTIES. ALL PARTIES
SERVED WITH SUMMONS AND COMPLAINT/CROSS-COMPLAINT OR THEIR ATTORNEY
OF RECORD MUST APPEAR.

2. You may    stipulate to an earlier Case Management Conference. If
all parties   agree to an early Case Management Conference, please
contact the   Court Clerk's Office at (925)608-1000 for Unlimited Civil
and Limited   Civil cases for assignment of an earlier date.

3. You must be familiar with the case and be fully prepared to par-
ticipate effectively in the Case Management Conference and to discuss
the suitability of this case for the EASE Program, private mediation,
binding or non-binding arbitration, and/or use of a Special Master.

4. At any Case Management Conference the court may make pretrial
orders including the following:

     a.   an order   establishing a discovery schedule
     b.   an order   referring the case to arbitration
     c.   an order   transferring the case to limited jurisdiction
     d.   an order   dismissing fictitious defendants
     e.   an order   scheduling exchange of expert witness information
     f.   an order   setting subsequent conference and the trial date
     g.   an order   consolidating cases
     h.   an order   severing trial of cross-complaints or bifurcating
          issues
     i.   an order   determining when demurrers and motions will be filed

                            SANCTIONS
If you do not file the Case Management Conference Questionnaire or
attend the Case Management Conference or participate effectively in
the Conference, the court may impose sanctions (including dismissal of
the case and payment of money).

        Clerk of the Superior Court of Contra Costa County
I declare under penalty of perjury that I am not a party to this
action, and that I delivered or mailed a copy of this notice to the
person representing the plaintiff/cross-complainant.

Dated:    01/28/21
                                       C. JACALA
                                       Deputy Clerk of the Court
                 Case 4:21-cv-02727-HSG Document 1-1 Filed 04/15/21 Page 17 of 17


                                                                                                                                                               CM-010
  Al IORNFYO       'Afilv V.1:AGJT 4TTO5NEY         SNotA Ca,mumPcr    ,                                                  FOR COURT USE ONLY
— Joseph NI. Lovreiovicli: Eric M. Clarien; Shahla Jahl-Valles (73403: 222448: 327827)
  AIL LAW. APLC
  5855 Topanea Canyon Boulevard. Suite 300
  Woodland frills. CA 91367
       Te_erl ioNe No.. (818)610-8$()0             FAx No. (818)610-3030
 ATToRr.ter Fon trh,o, ); Plaintiff. C.I.EMENT RICHARDSON
SUPERIOR COURT OF CALIFORNIA; COUNTY OF                  CONTRA COSTA
         STREET',MRCSS 725 Court Street
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                                725 Court Street
                                Martinez. CA 94553
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        sRANCI NAidE.           WAKEFIELD TAYLOR COURTHOUSE
   CASE NAME:
                                                                                                                      JAN 27 nri
 RICIIARDSON v. UMPQUA INVESTMENTS. INC.. ET AL.
  CIVIL CASE COVER SHEET       Complex Case Designation
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                                                                                                                   nj.
                                                                                                                                                           0:
ri Unlimited   ri Limited       Counter         Joinder          El
         (Amount                    (Amount                                       E.:=1
         demanded                   demanded is          Filed with first appearance by defendant
         exceeds S25.000)           $25000 or less)         (Cal. Rules of Court rule 3.402)               DEVI.
                                       Items 1-6 below must be completed (see instructions on page 2).
1. Check       one   box below for the case type that best describes this case:
   A uto     Tort                                      Contract                                   Provisionally Complex Civil Litigation
    ri     Auto ..22;                                         Breach of cootractIwarranly r06) (Cal. Rules of Court. rules 3.400-3.403)
             U• ninsured motorist (46;                        Rule 3.740 collections l09)               Antitrust/Trade regulator (03)
   Other PI/PD/WD (Personal Injury/Property                   Other collections (091                    Corstruction defect (10)
   DamageNVrongful Death) Ton                                 frisurance coverage (18)                  Mass tort(40)
    17   A• sbestos (04)                                      Other contract(37)                        Securities litigation (28)
    -
    1 1  Product liability (24)                        Real Property                                    Environmental/Toxic tort (30)
    El       Medical malpractice 05)                          Eminent domain/Inverse                    Insurance coverage claims arising from the
    El   Other PI/PD/WD (23)                                  condemnation(14)                          above listed provisionally complex case
   Non-PI/PD/WO (Other)Tort                                   71
                                                              Wrongful eviction (33)                    types (41)

    E  1 Business tort/unfair business practice (07) = I      Other real property   (26)          Enforcement   of Judgment
    El     C• ivil rights (08)                         Unlawful Detainer                           Fl   Enforcement   of judgment (20)
    FT   Defamation f13)                                      Commercial(31)                      Miscellaneous Civil Complaint
   El Fraud (16)                                              El
                                                              Residential(32)                      El   RICO (27)
   n Intellectual property (15)                               71
                                                              Drugs (38)                          El Other complaint (no: specified above)(42)
    El   Professional negligence (25)                  Judicial Review                            Miscellaneous Civil Petition
    El   Other non-PI/PD./WO tort (35)                        El
                                                              Asset forfeiture (05)
                                                                                                   El   Partnership and corporate governance (21)
   Employment                                                 Petition re: arbitration award (11)
                                                                                                  1 1 Other petition (not specified above)(43)
                                                                                                  -
    n    Wrongful termination (36)                            Writ of mandate (02)
    LJ   Other employment(15)                                 Other judicial review (39)
2. This case           El   is    1-1 is not   complex under rule 3.400 of the California Rules of Court If the case is complex. mark the
   factors requiring exceptional judicial management:
      aO      Large number of separately represented parties                d. 11
                                                                                - ]Large number of witnesses
      b. 1:=1 Extensive motion practice raising difficult or novel          e.   -
                                                                                 1 1 Coordination with related actions pending in one or more courts
              issues that will be time-consuming to resolve                      in other counties. States. or countries, or in a federal court
     c        Substantial amount of documentary evidence                    f. n Substantial postjudgment judicial supervision

3. Remedies sought (check all that apply):               a.71 monetary     b.1-1 nonmonetary: declaratory or injunctive relief                C.   ripunitive
4. Number of causes of action (specify): 3
5. This case         is 1:::]
                         171 is not a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date: 1/26/2021
Eric M. Gruzen: Shahla Jalil-Valles
                                 (TYPE OP PRINI CASTE.                          )
                                                                           NOTICE
                                                                                                                           —1/al#7.f
                                                                                                                  TY OR ATTORN   OR PAR1 y.

 • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
   under the Probate Code, Family Code, or Welfare and Institutions Code).(Cal. Rules of Court, rule 3.220.) Failure to file may result
   in sanctions.
 • File this cover sheet in addition to any cover sheet required by local court rule.
 • If this case is complex under rule 3.400 et seq. of the California Rules of Court. you must serve a copy of this cover sheet on                              all
   other parties to the action or proceeding.
 • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                              Page 1 of 2
Fern Ackfacri IGI 1.1andalore Use.                                                                          Cal. Rules c.! Calm. nsins 2.30. 2..220.3 405-3 403. 3.740'
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